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The

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of Appeals

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Sixth
Appellate District of Texas at Texarkana

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; GLENN DOUGLAS ROARK,
Appellant

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Judicial District Court

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County, Texas

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Court No. 15581

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Carter and Moseley, JJ.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Memorandum Opinion by Justice Moseley








&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; MEMORANDUM&nbsp;
OPINION

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Glenn
Douglas Roark appeals from his conviction by a jury for the offense of driving
while intoxicated (DWI).[1]&nbsp; Tex.
Pen. Code Ann. § 49.09(b) (Vernon Supp. 2009).&nbsp; The offense was enhanced by two prior DWI
convictions, and he was sentenced to six and one-half years’ imprisonment.&nbsp; He was represented by appointed counsel at
trial and on appeal. &nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Roark’s
attorney on appeal has filed a brief which discusses the record and reviews the
proceedings in detail.[2]&nbsp; Counsel has thus provided a professional
evaluation of the record demonstrating why, in effect, there are no arguable
grounds to be advanced.&nbsp; This meets the
requirements of Anders v. California,
386 U.S. 738 (1967); Stafford v. State,
813 S.W.2d 503 (Tex. Crim. App. 1981); and High
v. State, 573 S.W.2d 807 (Tex. Crim. App. [Panel Op.] 1978).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Counsel
mailed a copy of the brief to Roark on May 3, 2010, informing Roark of his
right to file a pro se response and of his right to review the record.&nbsp; Counsel has also filed a motion with this
Court seeking to withdraw as counsel in this appeal.&nbsp; Roark has neither filed a pro&nbsp;se
response, nor has he requested an extension of time in which to file such
response.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We
have determined that this appeal is wholly frivolous.&nbsp; We have independently reviewed the clerk’s
record and the reporter’s record, and we agree that no arguable issues support
an appeal.&nbsp; See Bledsoe v. State, 178 S.W.3d 824, 826–27 (Tex. Crim. App.
2005).&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In
a frivolous appeal situation, we are to determine whether the appeal is without
merit and is frivolous, and if so, the appeal must be dismissed or
affirmed.&nbsp; See Anders, 386 U.S. 738.&nbsp;&nbsp; We
affirm the judgment of the trial court.[3]

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Bailey
C. Moseley

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Date Submitted:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; July
13, 2010

Date Decided:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; July
14, 2010

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Do Not Publish











[1]Originally
appealed to the Twelfth Court of Appeals, this case was transferred to this
Court by the Texas Supreme Court pursuant to its docket equalization
efforts.&nbsp; See Tex. Gov’t Code Ann.
§ 73.001 (Vernon 2005).&nbsp; 

&nbsp;





[2]We
did note, however, errors in appellate counsel’s brief of a nature suggesting
that more care should have been taken in using prior briefs as a basis for
preparing the current brief.&nbsp; Counsel
stated in his preliminary statement of this case that this was an aggravated
robbery case instead of a DWI—but then later in the same sentence states the
jury found Roark guilty of DWI (the correct offense).&nbsp; This misstatement of aggravated robbery also
occurs on page three of counsel’s brief.&nbsp;
Counsel further states the offense took place June 28, 2004, when in
fact it occurred January 28, 2004.&nbsp; Also,
counsel states there was no motion for directed verdict based on insufficient
evidence; however, trial counsel did move for a directed verdict based on
insufficient evidence that Roark was driving a vehicle as opposed to just being
in his yard when he was arrested.&nbsp; 





[3]Since
we agree this case presents no reversible error, we also, in accordance with Anders, grant counsel’s request to
withdraw from further representation of Roark in this case.&nbsp; No substitute counsel will be appointed.&nbsp; Should Roark wish to seek further review of
this case by the Texas Court of Criminal Appeals, Roark must either retain an
attorney to file a petition for discretionary review or Roark must file a pro
se petition for discretionary review.&nbsp;
Any petition for discretionary review must be filed within thirty days
from the date of either this opinion or the last timely motion for rehearing
that was overruled by this Court.&nbsp; See Tex.
R. App. P. 68.2.&nbsp; Any petition for
discretionary review must be filed with this Court, after which it will be
forwarded to the Texas Court of Criminal Appeals along with the rest of the
filings in this case.&nbsp; See Tex.
R. App. P. 68.3.&nbsp; Any petition for
discretionary review should comply with the requirements of Rule 68.4 of the
Texas Rules of Appellate Procedure.&nbsp; See Tex.
R. App. P. 68.4.







